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                EXHIBIT A
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     Steven L. Woodrow*
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 2   Patrick H. Peluso*
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     3900 East Mexico Ave., Suite 300
 4   Denver, Colorado 80210
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 6
     Stefan Coleman, Esq.*
 7   LAW OFFICES OF STEFAN COLEMAN, P.A.
     201 S Biscayne Blvd, 28th Floor
 8   Miami, Florida 33131
     Telephone: (877) 333-9427
 9   law@stefancoleman.com
10   *pro hac vice
     Additional counsel appearing on signature page
11
12
                                 UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
                                        SAN JOSE DIVISION
15
16
     NATHAN GERGETZ, individually and on          )
17   behalf of all others similarly situated,     )     CASE NO.: 5:16-cv-4261-BLF
                                                  )
18                 Plaintiff,                     )     DECLARATION OF STEVEN L.
            v.                                    )     WOODROW IN SUPPORT OF MOTION
19                                                )     FOR AWARD OF REASONABLE
     TELENAV, INC., a Delaware corporation        )     ATTORNEYS’ FEES AND EXPENSES,
20                                                )     AND INCENTIVE AWARD
                   Defendant.                     )
21                                                )
                                                  )
22
23
24
25
26
27
28   DECLARATION OF ATTORNEY                          -1-           CASE NO.: 5:16-CV-4261-BLF
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 1   I, Steven L. Woodrow, declare as follows:

 2          1.      I am over the age of eighteen (18), and I am one of the attorneys for the plaintiff in

 3   this matter. I make this declaration in support of Plaintiff’s Motion for Award of Reasonable

 4   Attorneys’ Fees and Expenses, and Incentive Award in connection with the class action

 5   Settlement Agreement reached in the above captioned litigation.

 6          2.      I am able to testify to the matters set forth herein if called upon to do so. I make

 7   the following statements based upon my own personal knowledge and based on facts learned

 8   during the litigation of this case, including our pre-suit investigation, our pursuit of the claims,

 9   and our negotiating the Settlement Agreement through the mediation process.

10   Class Counsel’s Pre-Suit Investigation and Early Litigation

11          3.      Prior to this lawsuit ever being filed, my firm, Woodrow & Peluso, LLC,

12   conducted an extensive investigation into Telenav, Inc. and its text messaging activities. This

13   included an examination of publicly-available information to determine the scope of Telenav's

14   text messaging, its Scout App, and the applicable terms and conditions. Through this review my

15   firm was able to gain a an understanding of Telenav’s Scout App and the text messages sent

16   through the Scout App. Based on this information, coupled with the Scout App's failure to process

17   Stop requests, we had a good faith basis for concluding that Telenav used an automatic telephone

18   dialing system (“ATDS”) to make the calls at issue.

19          4.      During this phase of the case, lawyers on our team also interviewed named

20   Plaintiff Nathan Gergetz regarding his receipt of text messages from a Telenav number and his

21   attempts to opt-out of receiving future messages.

22          5.      Once this investigation had revealed sufficient evidence of a claim, and we were

23   satisfied internally that Gergetz had received unlawful text messages (including messages after

24   responding Stop), our team drafted the pleadings in the case and filed the lawsuit on behalf of

25   Gergetz and a nationwide class of similarly-situated cellphone users.

26          6.      We thereafter obtained service and proceeded to litigate the case.

27
28   DECLARATION OF ATTORNEY                           -2-                 CASE NO.: 5:16-CV-4261-BLF
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 1   The Parties Commence Early Settlement Discussions

 2          7.      Following the filing of the Complaint, Telenav retained attorney Joshua Masur of

 3   Turner Boyd LLP. Mr. Masur and I engaged in initial discussions regarding each side’s respective

 4   viewpoints and discussed the possibility of an early resolution. To facilitate ongoing discussions

 5   the parties agreed that Mr. Masur would gather information regarding the size of the alleged class

 6   and the potential scope of the case. Information gathered has indicated that approximately

 7   200,000 Settlement Class Members have claims similar to Gergetz’s claims, 1,800 of whom also

 8   replied “STOP” and continued to receive text messages.

 9          8.      In or around October 2016, Mr. Masur withdrew as Telenav’s counsel and was

10   replaced by Tonia Klausner and Peter Holm of Wilson Sonsini Goodrich PC—an experienced

11   TCPA practitioner. Shortly thereafter, we engaged in frank discussions with Ms. Klausner and

12   Mr. Holm regarding the size and scope of the litigation, including the size of the alleged classes

13   and the technology utilized to place the text message calls. Additionally, we discussed Telenav’s

14   potential defenses, which included Telenav’s assertions that: (a) it did not “make” the calls at

15   issue in the case (i.e., that it did not send the text messages—that app users supposedly sent them

16   instead), (b) its system is not an ATDS and the D.C. Circuit is likely to adopt a definition of

17   ATDS that excludes Telenav's software, and (c) additional defenses and arguments.

18          9.    Following this exchange of information, counsel for both parties agreed to engage in

19   a mediation session to determine if an early settlement could be obtained. To that end, counsel for

20   all parties—including lawyers for Plaintiff, Telenav, and Telenav's insurer—convened in San

21   Francisco on July 7, 2017, for a full-day mediation session overseen by John Bates of JAMS, a

22   well-respected mediator with substantial class action settlement experience, including specifically

23   in cases litigated and settled under the TCPA.

24          10.     Throughout the mediation, both Parties continued to share updated information

25   regarding the scope of the claims and the size of the class and additional information regarding

26   their respective claims and defenses.

27
28   DECLARATION OF ATTORNEY                          -3-                CASE NO.: 5:16-CV-4261-BLF
     STEVEN L. WOODROW
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 1          11.      Notwithstanding these extensive and productive talks, the mediation session ended

 2   with the Parties unable to come to an agreement regarding the terms of the relief to be made

 3   available to the Settlement Class. Instead of settling, both Parties agreed following the mediation

 4   session to proceed forward with the previously scheduled hearing on Telenav's Motion to Dismiss

 5   or Stay.

 6          12.      Counsel for the Parties also agreed, however, to continue to discuss a possible

 7   resolution in the lead up to the hearing.

 8          13.      To facilitate these continued talks, the mediator, Mr. Bates, worked to keep the

 9   case on a settlement track by engaging the Parties and their counsel through a series of telephone

10   negotiations.

11          14.      Ultimately, with the help of Mr. Bates, the Parties reached an agreement in

12   principal on the eve of the hearing scheduled on Telenav’s Motion to Dismiss or Stay. Only after

13   reaching an agreement in principal did the Parties discuss an amount for reasonable attorneys’

14   fees and an incentive award for Gergetz.

15          15.      As such, the Settlement Agreement was negotiated by a well-respected national

16   mediator with substantial experience overseeing TCPA class action settlements who made certain

17   that at all times the negotiations stayed professional and arm’s-length. The result is a strong

18   settlement that provides robust relief to the class members.

19   The Parties Work to Obtain Preliminary Approval & Notice is Issued to the Class

20          16.      Once the finer details of the Settlement Agreement and the notices were finalized

21   and the agreement was executed, Class Counsel drafted the papers in support of Preliminary

22   Approval and traveled to San Jose for the Preliminary Approval Hearing.

23          17.      During the hearing the Court indicated that the Settlement would receive

24   preliminary approval. Thereafter, we worked with both Telenav’s counsel and the Settlement

25   Administrator to finalize all necessary papers, including the Settlement Website and the Class

26   Notices and to mail and email them out to Settlement Class Members.

27
28   DECLARATION OF ATTORNEY                          -4-                 CASE NO.: 5:16-CV-4261-BLF
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 1   Response to the Settlement to Date

 2             18.    Since notice was disseminated, Class Counsel's law firm has received several calls

 3   from Settlement Class Members seeking additional information about the nature of the claims and

 4   the relief made available under the settlement agreement. Many of the callers are surprised to

 5   learn that federal law includes such a claim and are pleased with the result achieved. One

 6   gentleman told me over the phone that “Christmas is back on” this year in his house because of

 7   this Settlement.

 8             19.    To date, no Settlement Class Members have elected to opt-out nor have any

 9   objected, signaling overwhelming satisfaction with the results.

10             20.    The $3.5 million Settlement Fund will be used to pay all approved claims,

11   Settlement Administration Expenses, any Incentive Award, and any Fee Award. Settlement

12   Administration Expenses, any Incentive Award, and any Fee Award will be subtracted from the

13   Settlement Fund. The amount that remains, the Net Settlement Fund, will then be divided by the

14   total number of Award Units. Members of the No Consent Subclass are entitled to receive one (1)

15   Award Unit, while members of the Stop Subclass are entitled to receive five (5) Award Units

16   (members of both subclasses are entitled to receive a total of six (6) Award Units). Award Units

17   will be of equal value.

18             21.    If the Court ultimately awards amounts from the Settlement as contemplated by the

19   Agreement, each award unit would currently be worth $1,050.00.

20   Class Counsel's Hours and Rates

21             22.    After reviewing my firm’s time keeping records and consulting with my co-

22   counsel and local counsel, as of the filing of this Motion, Settlement Class Counsel have

23   expended the following hours1 pursuing the claims and crafting the settlement of this case:

24         Attorney Name/Firm          Position       Rate      Hours           Lodestar
25
           Steven Woodrow (WP)         Partner        $440      444.3           $195,492
26
     1
27       Class Counsel's time sheets are available upon request for the Court's review.
28   DECLARATION OF ATTORNEY                           -5-                CASE NO.: 5:16-CV-4261-BLF
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 1      Patrick Peluso (WP)           Partner        $340       394             $133,960
 2
        Taylor Smith (WP)             Associate      $225       26.2            $5,895
 3
        Stefan Coleman                Partner        $450       81.9            $36,855
 4
        Richard Drury (LD)            Partner        $850       0.2             $170
 5
 6      Rebecca Davis (LD)            Associate      $550       14.6            $8,030

 7                                    Law
        Law Clerks (WP)                              $100       27              $2,700
 8                                    Clerks

 9      LODESTAR                                                988.2           $383,102

10          23.     The time spent to date is reasonable. Meaningful work was performed before the
11   case was ever filed to ensure that the claims were as well positioned as possible. Indeed,
12   significant time was spent performing legal research to ensure that the Settlement Class put
13   forward the legal theory with the best chances of success. This included legal research throughout
14   the litigation and settlement phases to ensure the litigation matter proceeded in accordance with
15   the current state of the law, including: the legal definition of an ATDS, principals of Article III
16   standing post-Spokeo, the potential for pick-off attempts of the named plaintiff, the suitability of
17   the case as a class action, settlement standards for national class actions in the Ninth Circuit and
18   in sister circuits, TCPA class action settlements (including contemporary structures and dollar
19   values), cy pres designees, approval red-flags, the ability to settle nationwide class actions, and
20   other evolving legal issues. This is of course in addition to numerous communications with
21   opposing counsel in the lead up to the mediation, the conducting of the mediation, and the
22   negotiation and finalization of the settlement documents filed in the case. Class Counsel has also
23   been responsive to the needs of Settlement Class Members and have returned all inquiries
24   promptly.
25
26
27
28   DECLARATION OF ATTORNEY                          -6-                 CASE NO.: 5:16-CV-4261-BLF
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 1          24.     Class Counsel estimates that an additional $10,000-$15,000 in attorney time will

 2   be needed to finalize the Settlement, which includes reviewing and completing the confirmatory

 3   discovery process. And, of course, Class Counsel took on this case on a contingent fee basis.

 4          25.     Additionally, it is worth noting that Settlement Class Counsel has prosecuted this

 5   matter on a contingency basis. (At the risk of receiving nothing in return, Class Counsel initiated

 6   and diligently prosecuted this case, investing substantial time and resources. Moreover, the

 7   significant work on this case prevented the attorneys at my firm from working on other matters.)

 8          26.     Furthermore, Settlement Class Counsel’s hourly rates are reasonable. Settlement

 9   Class Counsel’s rates are comparable to those charged to private clients and have been approved

10   by various courts. See Couch v. Southwest Airlines Co., 3:15-cv-00367-N (N.D. Tex. 2016)

11   (Couch Dkt. 43) (approving Woodrow & Peluso's 2016 rates of $430 (for Woodrow) and $330

12   (for Peluso)); see also Wigod v. Wells Fargo Bank, N.A., Case No: 1:10-cv-2348 (N.D. Ill. 2014)

13   (Bucklo, J.) (Wigod Dkt. 278) (approving hourly rate of $570 for attorney Woodrow in 2014); see

14   also Schulken v. Washington Mutual Bank, No. 09-CV-02708-LHK (N.D. Cal.) (Schulken Dkt.

15   223) (Koh J.) (approving attorney Woodrow's former hourly rate of $500 in 2012).

16   Class Counsel's Out of Pocket Expenses

17          27.     In addition to expending time on the case, Class Counsel incurred certain out-of-

18   pocket expenses. These charges include our filing fees, service of process, the mediation, travel to

19   San Francisco for the mediation and to San Jose for the motion to dismiss, preliminary approval,

20   and final approval hearings, and related expenses. Class Counsel’s expenses in this matter total

21   $9,539.28.

22          28.     Having review the expenses, I attest that they are necessary and reasonable and

23   were incurred as a result of the demands imposed by the litigation. None of the expenses are for

24   lavish accommodations or for unnecessary items. Further, we expended monies for these items

25   without any guarantee of payment. As such, the Court should approve the requested expenses of

26   $9,539.28. (See Expense Report, attached hereto as Exhibit 1.)

27
28   DECLARATION OF ATTORNEY                         -7-                 CASE NO.: 5:16-CV-4261-BLF
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 1   Proposed Class Counsel’s Opinion of the Settlement Agreement

 2          29.     The terms of the Settlement Agreement are unquestionably strong when viewed

 3   against other TCPA settlements reached to date. The per-unit monetary amounts are projected to

 4   far exceed the amounts recovered in such settlements. My firm's research has revealed that typical

 5   TCPA settlement payouts vary considerably and depend on a multitude of factors, but that a range

 6   from $30 - $150 is typical.

 7           30.    In this case, assuming projections hold, the per unit amount would be

 8   approximately $945.00, meaning No Consent Subclass members will receive $945.00 and Stop

 9   Subclass members will receive $4,725.00, with members of both Subclasses received $5,670.00.

10   Even lower amounts would still represent meaningful relief to the Settlement Class Members.

11          31.     The strength of the Settlement is most evident when viewed in light of Telenav’s

12   potential alleged defenses.

13          32.     Even if Plaintiff were to overcome these defenses and certify the class in an

14   adversarial setting, both certification and judgment would be subject to appeals, motions for re-

15   hearing, and additional delays.

16          33.     My firm, along with co-counsel Stefan Coleman of the Law Offices of Stefan

17   Coleman, P.A., have extensive experience litigating TCPA class actions and have devoted

18   substantial resources to the present litigation and will continue to do so throughout its pendency.

19   (See Class Counsel’s Firm Resumes, attached hereto as Exhibits 2 and 3.) Our local counsel was

20   also instrumental. (See Local Counsel’s Firm Resume, attached hereto as Exhibit 4.) As such, we

21   support this Settlement as being fair, reasonable, and adequate and in the best interest of the

22   Settlement Class.

23
24          Further affiant sayeth not.

25          Signed this 2nd day of August 2018 in Denver, Colorado.

26                                                 /s/ Steven L. Woodrow
                                                   Steven L. Woodrow
27
28   DECLARATION OF ATTORNEY                          -8-                CASE NO.: 5:16-CV-4261-BLF
     STEVEN L. WOODROW
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                 Exhibit 1
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Woodrow & Peluso LLC
Expense Report Telenav
Type of Expense                                           Amount
Pro Hac Vice Fee - Steven L. Woodrow                      $          305.00
Pro Hac Vice Fee - Patrick H. Peluso                      $          305.00
Pro Hac Vice Fee - Stefan Coleman                         $          305.00
Flights to/from SF for Mediation                          $        1,193.88
Hotel Costs in SF for Mediation                           $          625.86
Parking Costs at DIA                                      $           96.00
Arbitration Costs                                         $        4,450.00
Filing Fee                                                $          400.00
Subpoena Fee US Cellular                                  $          695.00
Delivery Fee to US Cellular Re: Subpoena                  $           41.01
Supplies to Compile Chamber's Copy Re: Prelim. Approval   $            11.86
Shipping Costs for Chamber's Copy Re: Prelim. Approval    $           25.81
Flights to/from San Jose for MTD Hearing                  $          394.96
Hotel Costs in San Jose for MTD Hearing                   $          218.73
Meals in San Jose for MTD Hearing                         $           60.29
Parking Costs at DIA - MTD Hearing                        $           45.00
Flights to/from San Jose for Prelim. Approval Hearing     $          256.96
Parking Costs at DIA - Prelim. Approval                   $           25.00
Inflight Wifi - Prelim. Approval                          $           10.00
San Jose Taxi Services - Prelim. Approval                 $           25.00
Meals in San Jose for Prelim. Approval Hearing            $           48.92
                            Total                         $        9,539.28
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                 Exhibit 2
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                          WOODROW & PELUSO, LLC FIRM RESUME

        WOODROW & PELUSO, LLC (“Woodrow & Peluso” or the “firm”) is a plaintiff’s class
action and commercial litigation firm based in Denver, Colorado. The firm files cases across the
Country.

        Our attorneys have over a decade of experience successfully representing consumers and
small businesses in matters nationwide. From litigation under the Telephone Consumer
Protection Act, 47 U.S.C. § 227 et seq., to cases enforcing the rights of job applicants and
employees under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., to appeals of first
impression, our lawyers have litigated and favorably resolved numerous legal disputes to the
satisfaction of our clients. At Woodrow & Peluso, LLC, we take special pride in the quality of
our work product and strive tirelessly to achieve the best results for every client. Descriptions of
our three primary practice areas—(1) Consumer Class Actions, (2) Commercial Litigation, and
(3) Appeals—and key personnel follow.

                                     OUR PRACTICE AREAS

1.     CONSUMER CLASS ACTIONS

       The majority of the firm’s caseload focuses on consumer class actions. These cases
include class actions alleging violations of statutes, such as the Fair Credit Reporting Act, the
Telephone Consumer Protection Act, and the Truth-in-Lending Act, as well as class actions
challenging systematic breaches of contract and advancing other common law theories.

       TCPA Class Actions

        Woodrow & Peluso attorneys have successfully litigated and settled numerous class
actions challenging violations of the Telephone Consumer Protection Act. To date we have filed,
prosecuted, and resolved using various settlement models TCPA cases against major
corporations and entities including Rita's Italian Ice, Global Marketing Research Services, LKQ
Corporation, J.B. Hunt, Altisource, Acurian, Price Self Storage, Local Lighthouse, Geekatoo,
and the University of South Carolina, among others. Our firm’s attorneys have substantial
experience prosecuting such claims, including class actions challenging the unlawful
transmission of text messages, the sending of unlawful facsimiles, the placement of “robocalls”
featuring a pre-recorded voice to residential landline phones, and the use of automatic telephone
dialing systems, including predictive dialers, to call consumer cell phones.

       Notable TCPA cases and settlements include:

       • Wendell H. Stone & Co. v. LKQ Corporation, 16-cv-07648 (N.D. Ill) (Kennelly, J.)
       (granting final approval to all-in, non-reversionary, settlement fund of $3,266,500) (final
       approval granted May 16, 2017).

       • Martin et al. v. Global Marketing Research Services, Inc., 6:14-cv-1290-ORL-31-KRS
       (M.D. FL) (Woodrow & Peluso appointed co-lead Settlement Class Counsel in
       settlement creating $10 million fund for class of 688,500 cellphone users) (final approval
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       granted November 4, 2016);

       • Mendez v. Price Self Storage Management, Inc., 3:15-cv-02077-AJB-JLB (S.D. CA)
       (Woodrow & Peluso appointed co-lead Settlement Class Counsel in TCPA settlement
       providing option of $750 cash or $1,100 in storage certificates) (final approval granted
       August 23, 2016);

       • Sherry Brown and Ericka Newby v. Rita's Water Ice Franchise Company, LLC,
       2:15-cv-03509-TJS (E.D. PA) ("all in" non-reversionary $3,000,000 settlement fund for
       text messages) (final approval granted March 20, 2017);

       • Morris et al v. SolarCity, Inc. 3:15-cv-05107 (N.D. CA) (JPA with counsel on $15
       million common fund TCPA settlement).

        Further, while a Partner with his prior law firm, Woodrow & Peluso attorney Steven
Woodrow was appointed interim co-lead class counsel in a TCPA class action against Nationstar
Mortgage, LLC (see Jordan et al v. Nationstar Mortgage LLC, 3:14-cv-00787-WHO) and led
TCPA litigation that resolved favorably against Bankrate Inc., and Carfax.com. Mr. Woodrow
was also involved in the TCPA settlement reached in Weinstein v. The Timberland Co. et al.
(N.D. Ill.), a text messaging class action featuring 40,000 unauthorized messages, and was part
of the appellate strategy team that secured the landmark decision in Satterfield v. Simon &
Schuster, Inc., 569 F.3d 946 (9th Cir. 2009), the first federal appellate decision to affirm that text
messages are covered as “calls” under the TCPA.

       FCRA Class Actions

        The second sub-focus within the firm’s class action practice consists of cases under the
Fair Credit Reporting Act (“FCRA”), which regulates the procurement and use of consumer
reports by employers when they make hiring/firing/pay decisions. To date, the firm has
successfully represented clients in putative class actions against Terminix, ServiceMaster,
TrueBlue Inc./Labor-Ready Mid-Atlantic, FedEx, Tyler Staffing Services, Inc., Great Lakes
Wine & Spirits, Freeman Webb, Inc., and others. This includes Woodford v. World Emblem
1:15-cv-02983-ELR, an FCRA settlement providing between $315 and $400 to claimants (final
approval granted January 23, 2017).

       Banking and Financial Institutions Class Actions

         Our attorneys have substantial experience representing consumers in class action
litigation involving national banking associations and other financial institutions. Meaningful
representations include:

               •       Schulken v. Washington Mut. Bank, No. 09-CV-02708-LHK, 2012 WL
                       28099, at *15 (N.D. Cal. Jan. 5, 2012). Attorney Steven Woodrow secured
                       prior firm’s appointment as Class Counsel from Judge Lucy Koh in class
                       action challenging JPMorgan Chase Bank, N.A.’s suspension of former
                       WaMu home equity line of credit accounts. Case settled with Mr.
                       Woodrow’s appointment as co-lead settlement class counsel.


                        WOODROW & PELUSO, LLC Firm Resume as of March 2018                           2
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               •       In re JPMorgan Chase Bank, N.A. Home Equity Line of Credit Litigation,
                       MDL No. 2167. Attorney Steven Woodrow helped secure transfer by the
                       Judicial Panel on Multidistrict Litigation to the Northern District of
                       Illinois and appointment of prior firm as interim class counsel. Attorney
                       Woodrow also negotiated and was also appointed co-lead settlement class
                       counsel in settlement projected to restore between $3 billion - $5 billion in
                       credit to affected borrowers in addition to cash payments.

               •       Hamilton v. Wells Fargo Bank, N.A., 4:09-cv-04152-CW (N.D. Cal.).
                       Attorney Steven Woodrow served as co-lead settlement counsel in class
                       action challenging Wells Fargo’s suspensions of home equity lines of
                       credit. Nationwide settlement restored access to over $1 billion in credit
                       and provided industry leading service enhancements and injunctive relief.

               •       In re Citibank HELOC Reduction Litigation, 09-CV-0350-MMC (N.D.
                       Cal.). Attorney Steven Woodrow was appointed interim co-lead counsel
                       and settlement class counsel in class actions challenging Citibank’s
                       suspensions of home equity lines of credit. The settlement was estimated
                       to have restored over $650,000,000 worth of credit to affected borrowers.

               •       Vess v. Bank of America, N.A. 10cv920–AJB(WVG) (S.D. Cal.). Attorney
                       Steven Woodrow negotiated class action settlement with Bank of America
                       challenging suspension and reduction of home equity lines of credit.

               •       Wigod v. Wells Fargo, No. 10-cv-2348 (N.D. Ill.). Steven Woodrow
                       secured the first appellate decision in the country recognizing the right of
                       homeowners to sue under state law to enforce HAMP trial plan
                       agreements. Attorney Steven Woodrow was appointed co-lead settlement
                       counsel providing loan modifications and cash payments to affected
                       borrowers.

       General Consumer Protection Class Actions

        Woodrow & Peluso attorneys have additionally successfully prosecuted and resolved
countless class action suits against other companies for a range of consumer protection issues.
For example, Woodrow & Peluso filed the first class action in the Country to challenge the
marijuana industry’s use of certain allegedly dangerous fungicides and pesticides and were the
first lawyers to bring class actions (against the Colorado Rockies Baseball Club and Kroenke
Sports & Entertainment, LLC) seeking to enforce the Colorado Consumer Protection Act, § 6-1-
718 et seq., which prohibits owners of entertainment venues from imposing restrictions on the
resale of tickets. The firm has also brought and litigated class actions against hospitals for their
use of “chargemaster” billing rates and are presently engaged in litigation against Southwest
Airlines related to its “Companion Pass” program.

        Woodrow & Peluso LLC has also brought claims against major food manufacturers and
distributors for falsely advertising certain products as “All Natural” and “Made in U.S.A.” Our
attorneys also have experience litigating class claims regarding missing or misappropriated


                        WOODROW & PELUSO, LLC Firm Resume as of March 2018                        3
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“bitcoins.” Woodrow & Peluso also brought the first class action in Colorado against cannabis
growers for their use of unapproved and harmful pesticides.

2.     COMMERCIAL LITIGATION

        As small business owners, we understand and appreciate the challenges that new
companies face as they strive to make headway in the market. Our attorneys regularly counsel
small to medium-sized businesses and have represented such companies in a wide range of
general commercial litigation matters including partnership and business disputes, breaches of
contracts and term sheets, and claims charging company managers and members of breach of
fiduciary duty, breach of contract, fraud, and fraudulent/preferential transfers. We regularly
advise clients on matters and contracts involving millions of dollars, and our attorneys have
successfully represented businesses and other entities in mediations, arbitrations, and trial.

3.     APPEALS

        Our attorneys have substantial experience handling appeals at both the state and federal
level. Representative appeals worked on predominately by our attorneys include:

              •       Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012). Attorney
                      Steven Woodrow briefed and argued this appeal resulting in the first
                      federal appellate decision holding that banks may be sued under state law
                      for violations of the federal government’s Home Affordable Modification
                      Program. The opinion has been cited over 1,300 times by courts, litigants,
                      and commentators throughout the Country and is widely regarded as the
                      leading authority on the rights and obligations of HAMP servicers and
                      borrowers.

              •       Robins v. Spokeo, 742 F.3d 409 (9th Cir. 2014). Attorney Steven
                      Woodrow argued a federal appeal reversing dismissal and upholding
                      consumer rights under the Fair Credit Reporting Act against one of the
                      nation’s largest online data aggregators regarding whether a plaintiff who
                      does not suffer tangible pecuniary loss may still show legal harm to satisfy
                      Article III standing. The case was reversed on writ of certiorari to the
                      United States Supreme Court (argued by different attorneys).

              •       Equity Residential Properties Mgmt. Corp. v. Nasolo, 364 Ill. App. 3d 26,
                      28, 847 N.E.2d 126, 128 (2006). Attorney Steven Woodrow helped author
                      the winning brief in this landmark landlord/tenant appeal defining the
                      requirements for constructive service and due process for Illinois evictions
                      under the Illinois Forcible Entry and Detainer Act. 735 ILCS 5/9–107 et
                      seq.

              •       Fuentes v. Kroenke Sports & Entertainment, LLC, Case No.
                      2014CV32619. Woodrow & Peluso appealed grant of summary judgment
                      in favor of defendant finding that the Colorado Consumer Protection Act,



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                      6-1-701 et seq. does not allow for class actions. Case settled prior to the
                      resolution of the appeal.

                                        OUR ATTORNEYS

       At present, our firm consists of 3 attorneys whose relevant experience is set forth below.

STEVEN LEZELL WOODROW has over a decade of experience advising consumers
and small businesses in high stakes litigation.

Steven briefed and delivered the winning argument in the landmark federal appellate court
decision Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012) holding banks
accountable for violations of the federal Home Affordable Modification Program. The opinion
is widely regarded as the leading authority on the rights and obligations of HAMP servicers
and borrowers. Steven also delivered the winning oral argument in Robins v. Spokeo, 742 F.3d
409 (9th Cir. 2014), a federal appeal upholding consumer rights under the Fair Credit Reporting
Act against one of the nation’s largest online data aggregators. The case and the Supreme Court
decision that ultimately reversed it (and now the Ninth Circuit's decision to re-affirm its prior
finding of Article III standing) present some of the most widely-litigated issues in class action
practice today.

Mr. Woodrow was appointed lead class counsel in litigation against JPMorgan Chase Bank,
N.A. challenging the bank’s 4506-T HELOC suspension program and was appointed lead
settlement class counsel in other HELOC suspension litigation against Wells Fargo Bank, N.A.,
Citibank, N.A., Chase, Bank of America, N.A. and PNC Bank.

Mr. Woodrow also led the legal team that secured a preliminary injunction freezing the
U.S. assets of Mark Karpeles, the former head of the failed Bitcoin exchange known as Mt. Gox,
as well as an order compelling Mr. Karpeles to personally appear in the United States for a
deposition in connection with Mt. Gox’s Chapter 15 bankruptcy case in Dallas Texas.

Steven has also litigated putative class actions under the Telephone Consumer Protection
Act, and courts have appointed him to serve as class counsel in nationwide settlements
against cellphone companies, aggregators, and mobile content providers related to unfair
billing practices, including Paluzzi v. Cellco Partnership, Williams v. Motricity, Inc., and Walker
v. OpenMarket Inc.

Steven has also served as an Adjunct Professor of Law at the Illinois Institute of
Technology Chicago-Kent College of Law, where he co-taught a seminar on class actions. Prior
to founding Woodrow & Peluso, Steven was a partner at prominent class action technology firm
in Chicago.

Before that, he worked as a litigator at a Chicago boutique where he tried and arbitrated a
range of consumer protection, landlord tenant, and real estate matters.

EDUCATION
Chicago-Kent College of Law, J.D., High Honors, 2005


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The University of Michigan-Ann Arbor, B.A, Political Science, with Distinction, 2002

ADMISSIONS
State of Illinois (2005)
State of Colorado (2011)
United States Court of Appeals for the Seventh Circuit
United States Court of Appeals for the Ninth Circuit
United States District Court, Northern District of Illinois
United States District Court, District of Colorado
United States District Court, Eastern District of Michigan
United States District Court, Western District of Michigan
United States District Court, District of New Mexico

PATRICK H. PELUSO specializes in plaintiff-side consumer class actions.

With a true passion for protecting consumers and their rights, Patrick aggressively pursues class
action lawsuits against companies who violate those rights.

Through these lawsuits, he is able to force law-breaking companies to compensate the people
they have harmed and correct their future practices. Patrick possesses the skills, strategic vision,
and moxie to achieve excellent results for the people he represents. He has experience working
with a broad range of consumer protection laws including the Fair Credit Reporting Act, the
Telephone Consumer Protection Act, and various state consumer protection and consumer fraud
statutes.

Patrick received his law degree from the University of Denver, Sturm College of Law where he
was Editor-in-Chief of an academic journal. During law school, Patrick worked with a leading
consumer class action law firm and held legal internships with a federal administrative judge and
the legal department of a publicly traded corporation. Before law school, Patrick attended New
York University, where he graduated with a B.S. and played on the school’s club baseball team.

Patrick grew up in Baltimore, Maryland and now resides in Denver, Colorado.

EDUCATION
University of Denver, J.D. 2014
New York University, B.S.

ADMISSIONS
State of Colorado (2014)
United States District Court, District of Colorado
United States District Court, District of New Mexico
United States District Court, Eastern District of Michigan
United States District Court, Northern District of Illinois
United States District Court, Western District of Wisconsin




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TAYLOR TRUE SMITH focuses his practice on consumer class actions.


Throughout his life and career, Taylor has developed a passion for consumer advocacy. By
pursuing class actions on behalf of consumers, Taylor can give consumers not just a voice but
also a seat at the bargaining table.

Taylor received his law degree from the Creighton University School of Law. During law school,
he interned with the South Dakota Supreme Court. Prior to beginning law school, Taylor
attended South Dakota State University where he earned a B.S. in Economics.

Taylor was raised in Fort Pierre, South Dakota and currently resides in Denver, Colorado.

Education
Creighton University School of Law, J.D. Cum Laude 2017
South Dakota State University, B.S. Magna Cum Laude 2013

Admissions
State of Colorado (2017)
United States District Court, District of Colorado
United States District Court, Eastern District of Michigan
United States District Court, Northern District of Illinois




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                 Exhibit 3
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LAW OFFICES OF                                                    201 S Biscayne Blvd, 28th Floor, Miami, Fl 33131

STEFAN COLEMAN, LLC                                               1072 Madison Ave, Ste 1, Lakewood, NJ 08701
                                                                  1309 Jerich Tpke, New Hyde Park, NY 11040




PHONE (877) 333-9427 | FAX (888) 498-8946                             NEW YORK | NEW JERSEY | FLORIDA
EMAIL: LAW@STEFANCOLEMAN.COM                                              WEB: CLASSACTION.WS


                                            The Law Firm Resume

The Law Offices of Stefan Coleman is a dynamic law firm that concentrates its practice on
consumer law and technology. The core of the law firm is based on an in-depth knowledge of an
ever-evolving technology and its impact on the law. Specifically, the firm has devoted much of its
practice to protecting consumer’s privacy rights as well as protecting consumer’s from product
defects and false advertisements. The firm also works on behalf of companies to alert them to the
most recent changes and evolutions in the law as it applies to their industry as well as litigating class
action cases. The firm has participated in a number of significant class actions on behalf of
consumers.

Stefan Coleman, Esq. is a graduate of the University of Virginia and the University of Miami School
of Law. He has practiced law for over ten years in which time he has participated in a number of
significant class actions on behalf of consumers. The following is a brief list of some of the class
actions that he has participated in.

Love v. IdeaVillage Products Corp et al, a consumer class action in which certain purchasers could
recover a full refund for their purchase of an alleged defective product sold by the defendant. This
case resulted in the defendant changing its business practice.

Xexo v. iRenew Bio Energy Solutions et al, a consumer class action in which purchasers of the
iRenew bracelet recovered for the alleged false advertising by the defendant.

In re Jiffy Lube, a Telephone Consumer Protection Act case that resulted in a $35 million recovery
for consumers for the unsolicited text message advertising. Several major issues of law were settled
in this case resulting in a massive victory for consumers.

Pimental v. Google Inc., a Telephone Consumer Protection Act case that resulted in a $6 million
settlement for consumers who received a text message from Google’s Slide app.

Woodman v. ADP Dealer Services, Inc., et al., a Telephone Consumer Protection Act case that
resulted in a $7.5 million settlement for consumers who received unsolicited text messages
promoting car sales.

Lanza v. Palm Beach Holdings., et al., a Telephone Consumer Protection Act case that resulted in a
$6.5 million settlement for consumers who received unsolicited text messages.

Kolinek v Walgreen, Co. a Telephone Consumer Protection Act case that resulted in an $11 million
settlement for consumers who received unsolicited calls to their cell phone.




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STEFAN COLEMAN, LLC                                           1072 Madison Ave, Ste 1, Lakewood, NJ 08701
                                                              1309 Jerich Tpke, New Hyde Park, NY 11040




Hopwood v. Nuance Communications., et al., a Telephone Consumer Protection Act case that
resulted in a $9.24 million settlement for consumers who received unsolicited calls.

Flanigan v. The Warranty Group, Inc. and American Protection Plans LLC d/b/a American
Residential Warranty., a Telephone Consumer Protection Act case that resulted in a $16 million
settlement for consumers who received unsolicited calls.

Martin v. Global Marketing Research Services, a Telephone Consumer Protection Act case that
resulted in a $10 million fund for consumers who received unsolicited calls.

Stone & Co.,. v. LKQ Corporation, a Telephone Consumer Protection Act case that resulted in a
$3.26 million fund for consumers who received a fax from the defendant.




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                            Lozeau Drury LLP Law Firm Resume


        Lozeau Drury LLP (“Lozeau Drury” or “firm”) is a plaintiff’s environmental firm based
in Oakland, California. The firm represents non-profit environmental and recreational groups,
labor organizations, neighborhood associations, and Indian tribes in their efforts to create and
protect livable neighborhoods and cities, clean up air and water pollution, protect endangered
species, protect open spaces, reduce exposures to toxic pollutants, and create clean, safe jobs.
        Partners Richard Drury and Michael Lozeau have spent over two decades creating and
implementing cutting edge strategies that have given their clients to the tools to effectively
address some of California’s most intractable pollution problems and go head-to-head with some
of the state’s most powerful adversaries, including oil refineries, timber companies, federal and
state agencies, and big developers.
                                   Lozeau Drury Attorneys
Michael Lozeau
       Michael Lozeau has been practicing environmental law in the San Francisco Bay area for
over twenty years. He graduated with honors from Rutgers Law School-Newark in 1989 where
he helped establish the Rutgers Public Interest Law Foundation. In 2003, the San Francisco
Chronicle named Mr. Lozeau one of the Top 25 lawyers in the San Francisco Bay are. He sits on
the Board of Directors of the Golden Gate Audubon Society.
       Mr. Lozeau has extensive experience representing public interest clients on matters
involving the federal Clean Water Act. He practices before federal and state courts as well as
California’s regional water quality control boards and the State Water Resources Control Board.
Mr. Lozeau also has handled cases involving numerous other statutes, including the federal
Endangered Species Act, the California Endangered Species Act, CEQA, NEPA and the
California Coastal Act.
       From 1999 through the end of 2004, Mr. Lozeau was a staff attorney with the
Earthjustice Environmental Law Clinic at Stanford and a Lecturer at Stanford Law School.
From 1994 to 1999, he served as the Executive Director of Waterkeepers Northern California
and served as the San Francisco Baykeeper. Mr. Lozeau was a founding Board member of the
Waterkeeper Alliance from 1997-2001 and served as the Alliance’s Vice-President. Beginning in
1991, he maintained a solo practice in San Francisco, focusing on citizen enforcement cases and
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served as San Francisco Baykeeper’s legal counsel. His legal career began as an Associate
Attorney with Earthjustice (then Sierra Club Legal Defense Fund) in their San Francisco office.
Mr. Lozeau has a B.A. in Zoology from the University of New Hampshire.
       Some of Mr. Lozeau’s notable accomplishments include:

       •   Serving as lead counsel in precedent setting litigation to enforce the Department of
           Water Resources’ duties under the California Endangered Species Act to protect
           listed fish in operating the State’s massive Central Valley Project’s Delta pumps.
       •   Representing the Committee To Save the Mokelumne in agency proceedings and
           state court that led to the clean-up of the New Penn mine by EBMUD and the Central
           Valley Regional Board;
       •   Serving as lead counsel on a precedent setting federal Clean Water Act case against
           the Pacific Lumber Company for discharging pollutants from its logging operations
           without a permit;
       •   While serving as the Executive Director of BayKeeper, developing and implementing
           a successful strategy to regulate water pollution from tens of thousands of Central
           Valley farms, including drafting legislation that terminated long-standing exemptions
           from California water quality law and advocacy for an effective regulatory program;
       •   Numerous actions enforcing the CWA’s permitting and storm water pollution
           requirements;
       •   Representing several tribes and environmental organizations in federal court to help
           defeat a proposed low-level radioactive radioactive waste dump in Ward Valley,
           California.


Richard Drury
        Richard Drury has been practicing environmental law in the San Francisco Bay area for
over twenty years, and is one of the leading environmental lawyers in the State. He graduated
with honors from the Yale Law School in 1990, and clerked for Chief Judge Thelton E.
Henderson of the United States District Court for the Northern District of California. Mr. Drury
is one of the only attorneys ever named Attorney of the Year by the California Lawyer magazine
three times, in 2002, 2009, and 2011. In 2003, he received the prestigious Environmental
Leadership Award from the Ecology Law Quarterly. He served on the Executive Committee of
the Environmental Law Section of the California State Bar, and was co-chair of the State Bar’s
Environmental Law Conference in 2007, 2008, and 2009.
        Mr. Drury has extensive experience representing non-profit organizations and labor
unions in matters involving the California Environmental Quality Act (CEQA), the state and
federal Clean Air Acts, Proposition 65, and many other environmental laws. He has litigated
over fifty lawsuits in both state and federal court through trial, settlement, or other negotiated
resolution. He has extensive experience in bringing labor unions and environmental
organizations together to achieve common goals of securing clean, safe jobs and a better
environment.
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        From 2003 through 2008, Mr. Drury was an attorney and then shareholder at Adams,
Broadwell, Joseph & Cardozo. From 1993 through 2003, he was legal director of Communities
for a Better Environment. Prior to that time, he was an associate at the San Francisco
environmental law firm of Shute, Mihaly & Weinberger.
        Richard has published extensively on several environmental law topics, including notable
articles on labor-environment collaborations. He published a chapter in the book, Common Law
Remedies to Environmental Problems, and also authored a book on international law, Plowshares
and Swords (Beacon Press).
       Richard holds a B.S. degree in chemistry and a B.A. degree in philosophy from the
University of Illinois, where he graduated Phi Beta Kappa, Magna Cum Laude. Mr. Drury has
served as an adjunct professor of law at the University of California, Berkeley School of Law
(Boalt Hall), Golden Gate University School of Law and New College Law School in San
Francisco. Mr. Drury has been voted by his peers to be a California “Super Lawyer” in 2008,
2009, 2010, and 2011, a designation limited to only the top 5% of lawyers in the State.
       Some of Mr. Drury’s notable accomplishments include:
       •   Successfully representing Communities for a Better Environment, the Southern
           California Pipe Trades District Council 16 and Local 250 in a lawsuit to require
           environmental review for a diesel project constructed at the ConocoPhillips refinery
           in Wilmington. The litigation resulted in a landmark Supreme Court decision that
           defined the CEQA environmental “baseline.”
       •   Representing the California State Pipe Trades Council, the Sierra Club and other
           environmental organizations in a successful lawsuit to require environmental review
           prior to the approval of a new form of plastic pipe that posed a risk of leaching
           chemicals into drinking water;
       •   Representing Southern California Pipe Trades District Council 16 and Local 250, in
           collaboration with Communities for a Better Environment in a lawsuit to require
           environmental review for a diesel project constructed at the ConocoPhillips refinery
           in Wilmington;
       •   Representing Plumbers and Steamfitters Local 342, International Brotherhood of
           Electrical Workers Local 302, Boilermakers Local 549, other labor organizations, and
           environmental groups in an administrative action requiring ConocoPhillips to install
           advanced pollution control equipment at its Bay Area refinery;
       •   Representing Communities for a Better Environment in a successful lawsuit against
           over a dozen of the worlds’ largest oil companies, including Chevron, Texaco, Shell,
           Unocal, ExxonMobil, and many others, that required those companies to clean up
           over 1000 contaminated sites throughout California;
       •   Representing Communities for a Better Environment in a lawsuit to require Unocal to
           clean up a massive underground oil spill in the town of Avila Beach, California at a
           cost estimated to exceed $100 million;
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       •   Representing various environmental organizations in successful federal court lawsuits
           to require several Southern California oil companies including Chevron to use
           equipment to capture hazardous vapors released during oil tanker loading;
       •   Representing several labor unions in a successful campaign to require the Bay Area
           Air Quality Management District to adopt rules requiring oil companies to monitor
           and reduce “flaring” at their refineries.


Douglas Chermak
        Douglas Chermak has practiced environmental law since 2007, with a focus on water
quality and the Clean Water Act. Prior to joining Lozeau Drury, Mr. Chermak practiced
plaintiff’s side civil rights and employment litigation with the Law Offices of Michael S. Sorgen.
Prior to that, he worked on capital cases at the Contra Costa Public Defender’s office,
volunteered as an attorney at the East Bay Community Law Center and consulted with the Center
for Genetics and Society. During law school, Mr. Chermak won the Ecology Law Quarterly
Summer Fellowship and served as an intern at Communities for a Better Environment and the
California Attorney General’s Office.
        From 2004 through 2012, Mr. Chermak also served as the Law Program Director for the
Center for Contemplative Mind in Society, working to integrate meditation and contemplative
practices with the legal profession. In October 2010, he organized “The Mindful Lawyer”
conference at UC Berkeley School of Law, the first national conference on the subject of law and
meditation.
Rebecca Davis
       Rebecca Davis has over eight years of experience working in environmental and energy
law. She has extensive experience representing clients involving the California Environmental
Quality Act (CEQA), Proposition 65, and the Clean Water Act. He has litigated dozens of
lawsuits through trial, settlement, or other negotiated resolution.

        Prior to joining Lozeau Drury, Ms. Davis practiced environmental law as an associate
attorney at Paladin Law Group LLP where she focused on RCRA and CERCLA litigation. She
also worked as a Smart Grid Program Manager and Policy Analyst at the Clean Coalition, a non-
profit organization working to accelerate the transition to renewable energy.

        During law school, Ms. Davis served as a law clerk for Earthjustice and the Chicago
Environmental Law Clinic. Additionally, she helped protect consumers’ rights in many national
class action cases as a clerk for Edelson, LLC.

        Ms. Davis graduated magna cum laude from Chicago-Kent College of Law in 2010 with
a Certificate in Environmental and Energy Law, and received her undergraduate degree in
Environmental Studies from the University of Oregon.
